Case 1: 05- -c\/- 01080- .]DT- STA Document 7 Filed 05/25/05 Page 1 of 3 Pag/?D/;

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IN THE UNITED STATES DISTRICT COURT /Y‘F}'€S -- \ pp

  

FOR THE WESTERN DISTRICT OF TENNESSEEQ, o 44¢& ""
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"~/§/Z/i//S[‘é;;%€/)

sHAQUAILAN WALKER, § ‘P'<J;;;,';§/c;
Plaintiff, )
)

vs. ) No. 05_1080_T

)
CoMMissioNER oF )
soC.IAL sECURIrY, )
)
Defendant. )

ORDER REGARDING BRIEFING SCHEDULE
This is an action for review of a decision of the Commissioner of Social Security
denying Plaintiffs application for benefits under the Social Security Act.
The following briefing schedule is hereby established in this matter:

Plaintifi‘s brief in support of this appeal must be filed within 30 days of the
date of this order.

Defendant‘s brief in opposition to this appeal must be filed within 30 days after
service of Plaintift‘s brief.

If Plaintiff Wishes to tile a reply brief, such brief must be filed within 10 days after
service of Defendant's brief.

Failure of either party to comply With this order will result in appropriate sanctions,
which may include consideration of the case without regard to that party‘s brief, or dismissal

of the action.

This document entered on the docket h In compllance
with Rule 58 and.‘cr_?g (a) FHCP on

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Oral argument will be heard in this matter only if requested by the parties and deemed

necessary by the court.

IT IS SO ORDERED.

CP/VM)A,QMH-A

JAM D. TODD
UNIT D STATES DISTRICT JUDGE

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DATE

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 7 in
case 1:05-CV-01080 Was distributed by f`aX, mail, or direct printing on
May 26, 2005 to the parties listed

 

 

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Honorable J ames Todd
US DISTRICT COURT

